






                                                     NO. 07-05-0417-CR

					       07-05-0418-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JULY 14, 2006



______________________________


		

EDDIE CHARLES DAVIS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE



_________________________________



FROM THE 396TH DISTRICT COURT OF TARRANT COUNTY;



NO. 0953136D, 0953135D; HONORABLE GEORGE GALLAGHER, JUDGE


_______________________________




Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION


	Appellant Eddie Charles Davis appeals his convictions on two weapons offenses
and the concurrent sentences of three years' confinement in the Institutional Division of the
Texas Department of Criminal Justice.  We will affirm the trial court's judgment and grant
counsel's motion to withdraw in both cases.

	Appellant was indicted for the offenses of Unlawful Possession of a Firearm and
Possession of a Prohibited Weapon.  He entered an open plea of guilty to both offenses. 
Appellant and his counsel acknowledged he received and reviewed written admonishments
in both cases.  Appellant also signed a written waiver of certain of his rights in both cases,
including a waiver of his right to a reporter's record when his cases were heard and his
right to a pre-sentence investigation report.  Appellant further signed a judicial confession
of his guilt to the offenses as alleged in the indictments.  Having determined that appellant
was mentally competent, and that his actions in court were freely and voluntarily taken, the
trial court accepted appellant's plea of guilty.

	Appellant's counsel has filed a brief stating that she has carefully reviewed the
record in these cases and concludes there is no reversible error and that the appeals are
frivolous.  See Anders v. California, 386 U.S. 738, 744-45 (1967).  Counsel also has filed
a motion to withdraw in both cases and, by letter, informed appellant of his right to file a
pro se brief.  Johnson v. State, 885 S.W.2d 641, 646 (Tex.App.-Waco 1994, pet. ref'd). 
By letters dated March 15, 2006, this court also notified appellant of his opportunity to
submit a response to the Anders brief and motion to withdraw filed by his counsel, granting
him until April 12, 2006 to do so.  This court's letters also reminded appellant to contact his
counsel if he needed to review any part of the appellate record to prepare a response. 
Appellant has not filed a brief or other response.  	

	We have independently examined the entire record to determine whether there are
any non-frivolous grounds which might support the appeals.  See Penson v. Ohio, 488 U.S.
75 (1988); Stafford v. State, 813 S.W.2d 503, 511 (Tex.Crim.App. 1991).  We have found
no such grounds.  After reviewing the records before us and counsel's brief, we agree with
counsel that the appeal is frivolous.  See Bledsoe v. State, 178 S.W.3d 824 (Tex.Crim.App.
2005).

	Accordingly, counsel's motion to withdraw is granted in both cases and the trial
court's judgment is affirmed in both cases.

							


							James T. Campbell

							         Justice





Do not publish.

	


	



 to be received by the clerk of this court not later
than December 31, 2002. 	

	

									Per Curiam

Do not publish.



1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by
assignment.

